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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 23-cv-22729-RAR


  ENRIQUE ALVEAR,

         Plaintiff,

  vs.

  IKEA NORTH AMERICA
  SERVICES, LLC, a foreign
  limited liability company,

        Defendant.
  _______________________________/

         PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff ENRIQUE ALVEAR, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of

  Civil Procedure, hereby voluntarily dismisses all his claims in this action with prejudice, with each

  party to bear his/its own attorney’s fees and costs.

         Dated: September 6, 2023

         Respectfully submitted,

  RODERICK V. HANNAH, ESQ., P.A.                         LAW OFFICE OF PELAYO
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  By____s/ Roderick V. Hannah __                         By ___s/ Pelayo M. Duran ______
        RODERICK V. HANNAH                                     PELAYO M. DURAN
        Fla. Bar No. 435384                                    Fla. Bar No. 0146595
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on September 6, 2023, I electronically filed the foregoing document

  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel and parties of record identified on the below Service List in the

  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or

  in some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.


                                                 By   s/ Roderick V. Hannah
                                                      RODERICK V. HANNAH
                                                      Fla. Bar No. 435384

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